Case 4:18-cv-00298-SPF-JFJ Document 282 Filed in USDC ND/OK on 04/15/21 Page 1 of 2




                             United States District Court
                                NORTHERN DISTRICT OF OKLAHOMA

   Richard Feltz and Ashton Lee Dennis, on )
   behalf of themselves and all others similarly )
   situated,                                     )
                                                 )
            Plaintiffs,                          )
   vs.                                           )
                                                 )
   Board of County Commissioners of the          )       Case No. 18-cv-00298-CVE-JFJ
   County of Tulsa; Vic Regalado, Tulsa          )
   County Sheriff, in his official capacity;     )
   Tammy Bruce, Stephen Clark, Julie Doss, )
   Theresa Dreiling, Owen Evans, Mary Ann )
   Godsby, David Guten, Bill Hiddle, Ann         )
   Keele, James Keeley, Deborah Ludi Leitch, )
   Anthony J. Miller, Kevin C. Morrison,         )
   Kirsten Pace, Wilma Palmer, April Seibert, )
   Rodney B. Sparkman, and Tanya Wilson, )
   in their capacities as Tulsa County Special )
   Judges; and William LaFortune, in his         )
   capacity as Presiding Tulsa County District )
   Court Judge,                                  )
                                                 )
            Defendants.                          )

      ADOPTION OF STATE JUDGES’ NOTICE REGARDING SCHEDULING ORDER
   (DOC. #279) BY BOARD OF COUNTY COMMISSIONERS OF THE COUNTY OF TULSA
     AND VIC REGALADO, TULSA COUNTY SHERIFF, IN HIS OFFICIAL CAPACITY

          Defendants Board of County Commissioners of the County of Tulsa and Vic Regalado,

   Tulsa County Sheriff, in his official capacity (“Defendants”), adopt and incorporate the State

   Judges’ Notice Regarding Scheduling Order filed this date (Doc. #279). Said Defendants would

   note, however, that at this point, they do not see any need for expert witnesses for any reason.

   “There is no more certain test for determining when experts may be used than the common sense

   inquiry whether the untrained layman would be qualified to determine intelligently and to the best

   possible degree the particular issue without enlightenment from those having a specialized

   understanding of the subject involved in the dispute.” Ladd, Expert Testimony, 5 Vand.L.Rev.

                                                     1
Case 4:18-cv-00298-SPF-JFJ Document 282 Filed in USDC ND/OK on 04/15/21 Page 2 of 2




   414, 418 (1952). Expert opinions should be excluded in this case as unhelpful, superfluous and a

   waste of time. See 7 Wigmore on Evidence §1918.

                                                        Respectfully submitted,



                                                        s/ Douglas A. Wilson
                                                        Douglas A. Wilson, OK Bar Number 13128
                                                        Mike Shouse, OK Bar Number 33610
                                                        Assistant District Attorney
                                                        Tulsa County District Attorney’s Office
                                                        218 West Sixth Street, Suite 933
                                                        Tulsa, OK 74119
                                                        douglas.wilson@tulsacounty.org
                                                        mshouse@tulsacounty.org
                                                        (918) 596-8795
                                                        ATTORNEYS FOR DEFENDANTS

                      CERTIFICATE OF MAILING & ELECTRONIC NOTICE

   I hereby certify that on April 15, 2021, I electronically transmitted the foregoing document to the
   Clerk of the Court using the ECF System for filing and transmittal of a Notice of Electronic Filing
   to the following ECF registrants:

          Alexander Karakatsanis
          Alexandria Twinem
          Allison Holt
          Devan A Pederson
          Erin Morgan Moore
          Gary Yeung
          Hayley Elizabeth Horowitz
          Jeb Emmet Joseph
          Kristina Michelle Saleh
          Laura Gaztambide Arandes
          Michelle Anne Kisloff
          Phoebe Anne Kasdin
          Ryan Downer
          Stefanie Erin Lawson
          Stevie DeGroff
          Vassi Iliadis


                                                        s/ Douglas A. Wilson
                                                        Douglas A. Wilson

                                                   2
